Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51

Fi|| in this information to identify the case:

 

United States Bankruptcy Coun for the:

Eastern Dismctof New York
gStah=.)
Case number r/rkno',vn); fw Chapter 11 a Check if this is an

amended filing

Officia| Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy 04/16

if more space is needed, attach a separate sheet to this form. Cn the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruplcy Forms for Non-Individuals, is available.

1. Debtor's name Commack P|aza, LLC

 

 

2. A|l other names debtor used AF@ _ an __
in the past 3 years Ara Greek Kltchen & Bar
Ara Greek Kitchen and Bar
include any assumed names, '*
trade names, and doing business
HS names

 

 

3. Debtor’sfedera|Emp|oyer 4 6 3 7 6 4 6 7 5
identification Number(E|N) _ _ _ ` j j `” j

 

 

 

 

41 Debtgr’s address Principal place of business Mai|ing address, if different from principal place

of business

2 Henry Street 228 Parl< Avenue S

Number Street Number Street
#48897
P.O. Box

Commack NY 11725 New York NY 10003

City State ZlF’ Code City Stare ZlP Code

Location of principal assets, if different from
principal place of business

 

 

 

 

Suf'folk
County
Number Slreet
cay stare zlP code_
54 Debtor’s website (URL) WWW.arakitchen.com

 

M Corporation (including Limited l_iability Company (LLC) and Limited Liabi|ity Partnership (l_hP))
m Partnership (exc|uding L|_P)
n Other. Specify:

e. Type of debtor

 

Offlcial Form 201 Vo|untary Petition for Non~lndividuals Filing for Bankruptcy page 1

Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51

Debtor

Commack Plaza, LLC

Case number irm/nn

 

Na'r\e

7. Describe debtor’s business

a. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

if more than 2 cases, attach a
separate iist.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases |f more than 1,
attach a separate list.

Ofticiai Form 201

 

A. Check one:

Cl Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
a Singie Asset Rea| Estate (as defined in 11 U.S.C. § 101(518))
Cl Ratlroad (as cleaned m 11 u.S.C.§101(44))

n Stockbroker (as defined in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. § 101(6))

n Clearing Bank (as defined in 11 U.S.C. § 781(3))

w None of the above

B. Check all that apply:

l;l Tax-exempt entity (as described in 26 U_S.C. § 501)

m investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

n investment advisor (as defined in 15 U.S_C. § 80b-2(a)(11))

C. NA|CS (North American industry Classification System) 4-digit code that best describes debtor See
h;:p. ;.‘i.\.".v uscod'ts.coi.",iod“~dlclt~naticra -assncia:ion~raics-ccdes _

1125

 

Check one.'

n Chapter 7
n Chapter 9
M Chapter 11_ Check all that apply:

n Debtor`s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or atfiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that)_

n The debtor is a small business debtor as defined in 11 U.S_C. § 101(510). if the
debtor is a small business debtor. attach the most recent balance sheet. statement
of operations cash~l|ow statement and federal income tax return or if ali of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B)_

l:l A plan is being filed with this petition.

n Acceptances of the plan were solicited prepetition from one or more classes of
creditors in accordance with 11 U.S.C. § 1126(b).

El The debtor is required to file periodic reports (for examp|e, 1OK and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) Of the Securities
Exchange Act of 1934. File the Attachment to Vo/untary Petition for Non-/nd/`vidua/s F//ing
for Bani<ruptcy under Chapter 11 ’\Official Form 201A) With this form.

n The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ru|e

 

 

 

12b-2.
n Chapter 12
M No
n Yes. Distnct When Case number
Ml\/i / DD / YYYY
Dlstnct When Case number
|ViM ,' DD / YYYY
M No
n YeS. Debtor Relatlonship
Dlstrict When

 

i\/it\/| / DD /'YYYY
Case numberv if known

Vo|untary Petition for Non-individuais Fi|ing for Bankruptcy page 2

 

Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51

Commack Piaza, LLC

Na*e

Debtor Case number l iino,-.m

 

 

11. Why is the case filed in this Check a// that app/y;

district? . . _ . . . , . . . . .
@ Debtor has had its domicile principal place of business or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

n A bankruptcy case concerning debtors affiliate general pariner, or partnership is pending in this district

12. Does the debtor own or have lZ| NO
possession of any real
property or personal property
that needs immediate why does the property need immediate attention? <choci< all ihatapply.i
attention?

n Yes. Answer below for each property that needs immediate attention Attach additional sheets if needed

n it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

n lt needs to be physically secured or protected from the Weather.
n it includes perishable goods or assets that could quickly deteriorate or lose value Without

attention (for examp|e, livestock seasonal goods, meat, dairy, produce or securities-related
assets or other optionsl.

L:l Other

 

Where is the property?

 

N umber Streei

 

 

Clty State Z|P Code

ls the property insured?

UNO

n Y€S. insurance agency

 

Contact name

 

Pl"iOi`i€

- Statistical and administrative information

13. Debtor’s estimation of Check ones

ava'|ab'e funds @ Funds will be available for distribution to unsecured creditorsl

n After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors

_ EI 1-49 Ci i,000-5,000 Cl 25,001_50,000
14' Est"!"ated number °f E.i 50_99 Ci 5,001-10,000 [i 50,001-100,000
°'ed't°rs El 100-199 Ei 10,001-25,000 Ei lvlore than 100,000
U 200-999
_ Ei $0-$50,000 E| si.ooo,ooi-Sio million El 3500,000,001-31 billion
15' Est'ma“’d assets Cl 350,001»$100,000 Cl sio,ooo.ooi~$so million ill $i,oi)o.oi)o.oi)i-sio billion
[Z $100,001-$500,000 C] 350,000,001~$100 million ill $io,ooo,ooo.ooi-$oo billion
Ei $500,001-$1 million Ci $100,000,001-$500 million Ci l\/loro than $50 billion

Ofticiai Form 201 Vo|untary Petition for Non-lndividua|s Filing for Bankruptcy page 3

Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51

Commack P|aza, LLC

 

 

Debtor Case number -`,iino-.i.n
Na“e
_ _ _ _ _ D $0-$50,000 Ei $1,000,001-$10 million Ci $500,000,001-$i billion
""~ Est'"‘ated "ab"'t'es Cl $50,001-$100,000 Cl $10,000,001-$50 million El $1,000,000,001-$10 billion
Cl $100,001-$500,000 Cl $50,000,001-$100 million El $10,000,000,001-$50 billion
Ci $500,001-$1 million Cl $100,000.001-$500 million ll lvloio than $50 billion

- Request for Relief, Deciaration, and Signatures

WARN|NG -- Bankruptcy fraud is a serious crime. i\/iaking a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years. or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17- Dec|a"_ati°" and signat'_~"e of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of . .
petition
debtor

i have been authorized to file this petition on behalf of the debtor

| have examined the information in this petition and have a reasonable belief that the information is true and
correct

| declare under penalty of perjury that the foregoing is true and correct_

03/19/2019

MM / DD /YYYY

X dm Steve i\/ienexas

Signature ot authorizedrf@sentative of debtor Prlnted name

Executed on

me i\/ianaging i\/|ember

 

 

 

 

 

 

 

 

 

18. Signatu re of attorney X Date
Signaiure of attorney for debtor ’ i\/livi / DD / Y¥YY
Printed name
Firm name
Number Street
City State ZiP Code
Contact phone Emali address
Bar number State

Officia| Fomi 201 Vo|untary Petition for Non-individuais Fiiing for Bankruptcy page 4

Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51
UNITED STATES BANKRUPTCY COURT

STATEMENT PURSUAN'I` TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(s): CGW\ Wiéi ClC Pl@\`t L'L / L/L C j CASE No.:.

Pursuant to Local Bankruptcy Rulc lO73-2(b). thc debtor for any otherpezi`ti`orier) hereby makes thc following disclosure
concerning Related Cases, to the pctitioncr's best knowledge information and belicf:

[NOTE: Cases Shall be deemed "Rclatcd Cascs" for purposes ot`E.D.N.Y. LBR 1073-l and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before thc t`iling of thc new petition, and the debtors in such cases: (1) are the same; (ii) arc
spouses or cx-spouscs; (iii) are affiliates, as defined in i l U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) arc a
partnership and one or more of its general partners_; (vi) arc partnerships which share one or more common general partners; or (vii)
havc, or within 180 days of the commencement of either of the Rclated C ascs had, an interest in property that was or is included in the
property of another estate under ll U.S.C. § 54l(a).l

§('NO RELATED CASE IS PENDING OR HAS BEEN PENDING A'I` ANY TIME.

l:l THE FOLLOWING RELATED CASE(S) lS PENDING OR HAS BEEN PENDING:

cASE No.; rUDoE; DISTRicr/DIVISION;
CASE s'rlLL PENDING (Yn\i); [i_ifo/osod] Daio of closing

CURRENT STATUS OF RELATED CASE: _

 

(Discharged/'awaiting discharge7 confirmed,dismissed, etc.Y
MANNER IN WHICH CASES ARE RELATED (Refer 10 NOTE above/z

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAI_ PROPERTY") WHICH WAS ALSO LISTED l'N
SCHEDULE "A" OF RELATED CASE: `

CASE NO.: IUDGE: DISTRICT/DIVISION;
CASE STILL PENDING (Y/N): [Ifclosedl Datc of closing:

CURRENT STATUS OF RELATED CASE: f

 

(Dlschargccl”awaiting discharge1 confirmed7 dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE aboi‘e):

 

REAL PROPERTY LISTED lN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED lN
SCHEDULE "A" OF RELATED CASE:

CASE NO.: JUDGE: DlSTRlCT/DIVISION:
CASE S'l`ILL PENDING (Y/N): [Ifc/oserz’] Datc of closing;
(OVER)

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Bani<ruptcy

 

Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51

DlSCLOSUR_E OF RELATED CASES (cont'd) '

CURRENT STATUS OF RELATED CASE;

 

(Discharged/'awaiting discharge, confirmed, dismissed, etc.)
MANNER IN WHICH CASES ARE RELATED /Rejfer to NOTE abot'e):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

i\"OTE.‘ Pursuant to ll U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors Such an individual will be required to tile a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTORFPETITlONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioners attomey. as applicable):

l certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any tirne, except

as indicated elsewhere on this form.

Signature of Debtor's Attomey Signature of Pro Se Debtor/Petitioner

 

Signature of Pro Se Joint Debtor/'Petitioner

i/Q il€nvt/ S`l'V<’/Ur

Mailing Address rif Debtor/Peti_tioner

Conm_a t t, t\t\l l 1133
City, State, Zip Code `
eat - §7 l ~ 618/86
Area Code and Telephone Number
Failure to fully and truthli.llly provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any

other petitioner and their attomey to appropriate sanctions. including without limitation conversion, the appointment ofa trustee or the
dismissal of the case with prejudice

 

 

NOTE: Any change in address must be reported to the Couit immediately IN WRITING. Dismissal of your petition may otherwise
result.

USBC`-l7 Rev.S ll 2009
Sottware Copyright (c) 1996-2015 Best Case. LLC - w.'vw.bestcase.ccm Best Case Bank.'uptcy

 

Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51

UNITED sTATEs BANKRUPTCY COURT
§asl@.vv\ DisrRicT or NEW YoRK

---- ----x

In re: CG mmg( C |L l')l€tUL_] L/t C` Chapter 1 1
dba l Case No.:

Debtor.
___ ____ ________ X

 

 

CoRPoRATE owNERsHIP AND
CoRPoRA'rE DIsCLosURE sTATEMENT

Pursuant to Federal Rules of Banl<ruptcy Procedure §§ 1007(a)(1) and 7007.l(a) and

E.D.N.Y. LBR 1073-3, there is no corporate entity to disclose which owns 10% or more of any
class of equity interests of the Debtor.

Dated: '3)| l[ll lol
Byr M

»(

 

Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51

UNITED STATES BANKRUPTCY COURT

 

 

t§a gte v r\ DISTRICT oF NEW YoRK

X
mr CO m nut t L ivth ct f L/ t §

Chapter ll
(_“,l bit pt\fil/ Case No.:
Debtor.
X
CORPORATE RESOLUTION

 

LL,L L C
the above captioned Lirnited Liability

Company, do hereby certify that the following resolution was unanimously adopted on 3 l l q l l q :

“RESOLVED, that by reason of the Lirnited Liability Corporation being unable to pay its debts as

I, §l'(\¢@ W\€'W)(LU a Member of( !Y\W\(/U.l< Pl£*z’

they mature, it is deemed expedient, necessary and in the best interests of the Limited Liability Company,
its members and its creditors, that the Lirnited Liability Company seek relief under Title 11 of the United
States Code from such circumstance and condition, and that the Lirnited Liability Company, acting by a
Member of the Debtor, is hereby authorized, empowered and directed, subject to the provisions of the
Lirnited Liability Company to institute a proceeding pursuant to Title 11, United States Code (Chapter 11

of the Bankruptcy Code).

IN WITNESS WHEREOF, I have hereunto set my hand and seal of the Lirnited Liability Company

this

 

1 __ /,,, ,, -…`

By: iii/§ f ,Zp _~:' r. l j
1-' ry 74 * ~ / /
Sie\}€ tel erie >(Ct§.

 

Sworn to before me this l {`l

.C\C{

lide of \~»\;€',,{“Cr\ " ,
//: /({ 7 /;~C 7 \“ ““H()"“f

Notary ISublic, State of New){c);l\\\ C:\E OR?:I,/,/

LS:S»O .°*¢..,.I*. ..gb"`
’!/;?N EXP\Y~@Q§`\\`
'\mn\\

Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51

UNITED STATES BANKRUPTCY COURT
EASTERN DlSTRICT OF NEW YORK

 

- -x

ln re: {C ® ile }/Yl C\ Cl_ _Q lag/cl L L l Case No.
` Chapter
C-l l/.')CL m
Debtor(s)

___________________________________________________________ X

AFFIRMATION ()F FILER(S)

All individuals filing a bankruptcy petition on behalf ofa pro se debtor(s), must provide the following
information:

Name of Filer: §l€ '1/ Q nflt l/\{;` X Cl 5 4

Address: 912 llQl/ll/\l/ §l')/€Q,'{’ ((@m]”l’\CL Ci? [\}¥ [[7;1§
Email Address: `§\1W/l § i\.@ }(glt 5 @ 1,'§0[ . (@ ,/\/\

Phone Number: ( irc `LN ) l-f§ q ~ KU% 0

Name of Debtor(S)t (\lo` m [/Y\ Cl ( l(» ly lC\Q/‘I"( l» l.C C-ll hide /;l)/l\

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

l PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

 

 

q
)< l DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORl\/IS.

FEE RECEIVED:
z lWAS NOT PAID.

l WAS PAID.
Amount Paid: $

l/We hereby affirm the information above under the penalty of perjury.

Dated: /Z/§ 257 l 4__,_,_.-'-~`-~~"':"”_'"”_?,/,
` Filer’¢s/ngnature

 

/\.

Case 8-19-71978-reg Doc 1 Filed 03/19/19 Entered 03/19/19 09:45:51

United States Bankruptcy Court
Eastern District of New York

ln re C'O ),Y\ n/`\ a C lC gl['(m$ L»gi C,____H_` 7 Case No.

 

Debtort;“ _-*i Chapter q /n /r

VERIFICATION ()F CREDIT()R MATRIX

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (h`st of
creditors) is true and correct to the best of their knowledge

atlath

 

 

St’€ 08 W\ €r\ € %Ct..$ //Vlw'\tzj" wuj "I'Vlemb@/r

Signer/Title

Date:

 

Signature of Attomey

L.YSBC~-M Re\‘. 9 17 98

Software Copyrigh! (c) 1996-2018 Best Case, LLC - www.bestcase.ccm Best Case Bankruptcy

Case 8-19-71978-reg Doc 1

Ace Endico Food SVC
80 International Blvd
Brewster. NY 10509

American Exprcss National Bank
PO Box 30384
Salt Lake City_ UT 84130

Best Metropolitan Towel & Linen
60 Madison Avenue
I-Iempstead. NY 11550

Ecolab
PO Box 32027
New York.. NY 10087

Chase
PO Box 6294
Carol Stream, IL 60197

Manhattan Beer Distribution
PO Box 27458
New York` NY 10087

NCR Corporation
P() Box 198755
Atlantia. GA 30384

Southern Glazcr"S Wine & Spirits of NY
P() Box 3143
Hicksville. NY 11802

Empire Merchant, LLC
16 Bridgewater Street
Brooklyn, NY 11222

St. Johns Produce
PO Box 34
Albertson. BY 1 1507

NeWBank
146-01 Northern Blvd
Flushing NY 11354

PJ Venture FG. LLC
8 Garet P1ace
Commack, NY 1 1725

L.?S Foods. 1r1c.
P.O. Box 641871
Pittsburgh` PA 15264-1871

 

Filed 03/19/19 Entered 03/19/19 09245251

\"'cri'/.on
P() 130)< 1512~1
Aihan§'. N\' 12212

./f?\inmirut i C ot`t`ee
500 1*`ith A\/enue
Pelham. NY 10803

(,`1are Rose
100 Rose Executivc B
liast Yaphank. \Y

linion Becr Distributors
1213~17 Grand Strect
Brook1ym NY 1 121 1

Skurnik Wiries
P() Box 1315
S_\'osset. \\' 11791

T\TYS Dept of'1`ax & Finance
PO Box 4127
Binghamton, NY 13902

NYS Dept ot"Lahor
P('_`) Box ~'11 27
Binghamton` NY 1390'_’

Tri Statc Carbonation
216 1:1. Bl'oadway #2
1\/1ontice11o, NY 12701

Sysco long 1812111<1` LLC
190 1.,0\\1€1 Ave
CcntraI ISlip, NY 11722

NUC()Z LLC
P(,) Box 417902
Boston. §\"IA 02241

('_)pen 'I`ah1e
1 lMoritz:’omer_\;' Strcctt Suite 700
San 1?`1‘ancisco~ CA 94104

HotScheduleS
6504 Bridgc Point kaW
Austin. TX. 78730

PSEGLI
PO Box 888
Hicksville. NY 11802

Case 8-19-71978-reg Doc 1

Out 01` the Blue
1271 R_vawa Ave
Bronx. NY 10474

Optima Foods
15 W. Jefryn Blvd
Deer Park` NY 1 1729

Cintas Corporation
P() Box 630803
Cincinnati. OH 45263

'1`own 01` Smithtown
PO Box 9066
Hicksville, NY 11802

Rivkin Radler
926 RXR Plaza
Uniondale. NY 11556-0926

Noblc Management Group
228 Park Avenuc. South #48897
New Yorkr NY 10003

Quality Star Dcvelopment
228 Park Avenue. South #48897
New York. NY 10003

Stevc Mene.\'as
301 Vanderbilt Parkway
Dix Hillsr NY 11746

Giorgios Menexas
'-'1 Elm Sea Lane
Manhasset. NY 11030

Henry Street Plaza, LLC
2 Henry Street
Commack. NY 1 1725

Ot`t`lce ot`the United States Trustee
Eastcrn District oi`NY (Brooklyn Off`lce)
U.S. Federal Oft`ice Bui]ding

201 Varick Street. Suite 1006

New York` NY 10014-9449

Filed 03/19/19 Entered 03/19/19 09245251

